           Case 1:19-cr-00096-JSR Document 121 Filed 11/06/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :        19-CR-96 (JSR)
                                                                       :
SYDNEY SCALES and ERNEST HORGE,                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

                                                     ORDER

                 The pretrial conferences currently scheduled for November 12, 2020, at 9:00 a.m.

(in United States v. Horge, No. 19-CR-96-2; see Docket Entry No. 118), and November 13,

2020, at 9:00 a.m. (in United States v. Scales, No. 19-CR-96-1; see Docket Entry No. 119), are

hereby rescheduled to proceed as a joint telephonic conference on November 13, 2020, at 12:00

p.m., before Judge Laura Taylor Swain. To access the call, participants must dial 888-363-4734,

enter the access code 1527005#, and the security code 1919#. (Members of the press and public

may call the same number, but will not be permitted to speak during the conference.) As

requested, counsel for Mr. Scales will be given an opportunity to speak with Mr. Scales by

telephone for fifteen minutes before the proceeding begins (i.e., at 11:45 a.m.); defense counsel

should make sure to answer the telephone number that was previously provided to Chambers at

that time.

                 During the call, participants are directed to observe the following rules:

                 1.       Use a landline whenever possible.

                 2.       Use a handset rather than a speakerphone.

                 3.       All callers to the line must identify themselves if asked to do so.


HORGE-SCALES - ORD SCHED NOV 13 2020 TELE CONF.DOCX                            VERSION NOVEMBER 6, 2020
                                                 1
         Case 1:19-cr-00096-JSR Document 121 Filed 11/06/20 Page 2 of 2




               4.      Identify yourself each time you speak.

               5.      Mute when you are not speaking to eliminate background noise.

               6.      Spell proper names.

               Persons granted remote access to proceedings are reminded of the general

prohibition against photographing, recording, and rebroadcasting of court proceedings.

Violation of these prohibitions may result in sanctions, including removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any other

sanctions deemed necessary by the court.

       SO ORDERED.

Dated: New York, New York
       November 6, 2020
                                                               /s/ Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge




HORGE-SCALES - ORD SCHED NOV 13 2020 TELE CONF.DOCX                          VERSION NOVEMBER 6, 2020
                                                 2
